  Case 1:22-cr-00336-MKB Document 27 Filed 04/19/24 Page 1 of 7 PageID   #: 82
 Federal Defenders                                                 Eastern District
                                                               One Pierrepont Plaza, 16th Fl., Brooklyn, NY 11201

 O F NEW YORK, INC .
                                                                          Tel: (718) 330-1200 Fax: (718) 855-0760




  Barry D. Leiwant                                                                         Eastern District of New York
 Interim Executive Director                                                                  Michelle A. Gelernt
  and Attorney-in-Chief                                                                    Interim Attorney-in-Charge



April 19, 2024

BY ECF and Email
The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                              Re: United States v. Dewayne Tripp, 22-CR-336 (MKB)
Your Honor:
                                     PRELIMINARY STATEMENT

        Dewayne Tripp is a single father whose untreated substance abuse, trauma of
his youth, and ongoing economic challenges led him to the instant case. He also
made many mistakes while this case was pending. However, as a single father, he is
raising his son full-time, and cares deeply for his children and hopes for a better
future for them. He regrets his conduct during the underlying incident and while on
pretrial supervision. Dewayne wishes to move forward and lead a more productive
life for himself, his family and his community. We are therefore requesting a sentence
of time served.

                              Dewayne’s young adulthood was beset by trauma.

       Dewayne was born and raised in Brooklyn with his two sisters, Vanessa Tripp
and Veronica Tripp. He and his sisters were raised by a single mother, Cecilia Young,
who supported her children despite the absence of her children’s father, Dewayne
Tripp. Mr. Tripp was rarely present in his children’s lives. Dewayne and his family
lived in public housing for most of his life. His mother did her best to provide her
children while working as a caretaker for NYCHA. She did everything she could to
ensure that they had a safe, happy and healthy upbringing.

    As a child, Dewayne loved to watch and draw cartoons, and play video games and
basketball. Dewayne attended Brooklyn schools for most of his education. For
elementary school, he attended P.S. 307, near his home in Brooklyn, and later
attended I.S. 117 (formerly “J.H.S. 117”) near the border of Clinton Hill and Bedford-
Stuyvesant in Brooklyn. In middle school, math and science were his favorite subjects
                                                       1
    Case 1:22-cr-00336-MKB Document 27 Filed 04/19/24 Page 2 of 7 PageID #: 83




and he loved playing video games and basketball. Although he struggled with asthma
in his youth, at I.S. 117, he played on the school’s junior varsity team. He worked
hard and showed promise as a basketball player. Although he started on the bench in
sixth grade, he eventually became a starter on the team in seventh grade.

    However, his entire life would change at one of the most critical stages of his
development as a young man. As he was matriculating to high school from I.S. 117,
he began to get involved with the “wrong crowd” and found himself getting into
more and more trouble. Eventually, he had his first contact with the criminal justice
system at the age of 14. As a result of that contact, he found himself incarcerated for
an entire year at a juvenile detention facility in Middletown, New York. It was in
Middletown that he would begin high school, away from his friends, his family, and
his community. His early incarceration would have ripple effects for the rest of his
life.

   After his release from the juvenile detention facility, he moved back home with his
mother and tried to pick up the pieces of his life. But everything was different. He
enrolled in George Westinghouse Career and Technical Education High School in
downtown Brooklyn for 10th and 11th grade. However, he struggled to keep up found
himself unable to focus. Unfortunately, his prior education had not prepared him for
the next level, particularly given the trauma that he experienced in juvenile detention.
Notably, his middle school was burdened by the challenges of low academic
performance for students. According to an “accountability report” prepared by the
State University of New York for the 2005-2006 school year, I.S. 117 had failed to
make sufficient progress in meeting certain educational metrics in English Language
Arts and Math for all students for seven consecutive years.1 In 2008, when Dewayne
was 14 and incarcerated in Middletown, I.S. 117 was closed due to poor academic
performance.2 Unfortunately, given the numerous challenges that he faced, he
eventually left school after the 11th grade.

                            Dewayne is devoted to his children.

       Dewayne is especially proud of being a father and has been actively involved in
his children’s lives. He beams when speaking about his daughter Lauren (6),
describing that “she’s so polite, she’s very sensitive.” For his son Zaiden (5), he
1
  The University of the State of New York, The State Department of Education, “Accountability
Status Report: English Language Arts, Mathematics, Science and Graduation Rate for JHS 117
Francis Scott Key in NYC GEOG DIST #13 – RIC #8,” Apr. 22, 2006,
https://www.p12.nysed.gov/repcrd2005/school-accountability/331300010117.pdf.
2
  Insideschools.org, “I.S. 117 Francis Scott Key School,” https://insideschools.org/school/13K117
(last accessed Apr. 17, 2024).
                                                2
 Case 1:22-cr-00336-MKB Document 27 Filed 04/19/24 Page 3 of 7 PageID #: 84




recognized early on that “I saw the younger me in him,” as a restless young boy who
at times struggled with behavioral challenges in school. He became concerned when
Zaiden was expelled from school while living with Zaiden’s mother, and with what he
felt were negative influences around Zaiden. Eventually, Zaiden came to live with
Dewayne and Ms. Young, where Dewayne raised Zaiden full-time until his detention
in this case.

       As a full-time parent, Dewayne was immersed in every facet of Zaiden’s life.
Every day, he handled pick up and drop off at school for Zaiden and served as the
emergency contact. Notably, Zaiden attends P.S. 307, the same elementary school
Dewayne attended when he was a child. When Zaiden would act out in class, the
teachers would call Dewayne and he was able to help Zaiden calm down and focus.
Eventually, Zaiden’s teachers would just threaten to call Dewayne, and the mere
mention of his father would instantly improve Zaiden’s behavior when he was unruly.
Every night, Dewayne made sure that Zaiden did his homework, and did his best to
teach him life lessons: “I was on top of my son for school and made sure his
homework is always done, and I was always on my son about being respectful to
women.”

       When speaking of his children, Dewayne notes that they “changed me for the
better. I had two beautiful kids. I had to be a role model; I had to lead them the right
way.” He described spending lots of time with them, including taking them to
Disneyworld and the Nickelodeon Museum in New Jersey. Dewayne also envisions a
future where his children are free to pursue their dreams. “My son wants to be a cop
and I encourage him. If that’s his dream to pursue it, I want him to do it.”

       Dewayne’s incarceration has been especially hard on Zaiden. He noted that
Zaiden is currently in therapy because he cried in school about missing his father.
Due to the frequent lockdowns at MDC, discussed more below, he has not been able
to contact Zaiden as regularly as he would like. Despite these challenges, he has deep
hopes for his Zaiden’s future: “I want him to learn from me how to be independent, I
want him to be punctual, I want him to be everything. I don’t want him to get caught
up in the system. I don’t want this to become him.”

                          Alcoholism and the instant offense.

       For the last several years, Dewayne has struggled with an addiction to alcohol.
He first started drinking in 2014 at age 19. However, he found that he began to drink
excessively with the onset of the COVID-19 pandemic in 2020. Much like people
around the world who struggled through the lockdown, Dewayne dealt with the
trauma of extended isolation through substance abuse. He reports that “I was
                                           3
 Case 1:22-cr-00336-MKB Document 27 Filed 04/19/24 Page 4 of 7 PageID #: 85




running from my problems and looking for answers in the bottle, but when I got
sober, all my problems came back.” Over time, his addiction to alcohol began to
consume his entire life. He drank daily and throughout the day – “I couldn’t do
anything without drinking – if I’m eating, I need to drink, I would wake up and
drink.” It is clear from his conduct during the underlying offense, where he was
observed on surveillance video waving around what appeared to be a firearm and
threatening a convenience store employee, that he was inebriated at that time.
Dewayne confirmed his intoxication and further reported that he was drinking a
bottle of tequila when he was arrested. Further, as noted in the PSR, Dewayne had
also previously engaged in regular use of marijuana and a substance abuse condition
was added to his bond. PSR ¶¶49-50. Dewayne has never been connected to
substance abuse treatment and would be willing to engage in outpatient treatment in
the future.

        During the pendency of this case, Dewayne made a series of mistakes and poor
decisions in failing to abide by the conditions of pretrial supervision, including
absconding from supervision, along with other violations of which the Court is well
aware. Further, his actions negatively affected his relationships with his mother,
sisters, and significant other, and impacted his ability to raise his children. His poor
decision-making may also be related to his incarceration at an age which was critical in
his development, and may have impacted his own growth in his adulthood, while also
having to navigate raising his son full-time.

       Dewayne deeply regrets those mistakes. Today, he has repaired his relationship
with his mother and sisters and speaks with them regularly. They have re-engaged in
his case and remain supportive of him. Further, as noted above, he does his best to
speak to his children as much as possible, but his communication with them has been
stymied by the repeated lockdowns at MDC.

               Dewayne’s detention at MDC has been especially harsh.

       For the last year, Dewayne has been detained at MDC and has endured
extremely harsh conditions, which were exacerbated during the height of the COVID-
19 pandemic and have lingered through the present. While at the MDC, he has
experienced near constant lockdowns, where people are often locked in their cells all
day, with minimal time outside of the cell, even to take a shower. His access to
phones has been extremely limited and he has regularly been served cold meals. As
Southern District of New York Judge Furman recently wrote, “confining [people] to
their cells [at MDC] is . . . tantamount to solitary or near-solitary confinement, a
practice that is increasingly viewed as inhumane.” United States v. Gustavo Chavez, 22-
cr-303 (S.D.N.Y. Jan. 4, 2024) (attached hereto as Exhibit A).
                                           4
    Case 1:22-cr-00336-MKB Document 27 Filed 04/19/24 Page 5 of 7 PageID #: 86




      Most recently, Dewayne has observed maggots in the food that was served to
him and other detainees in early April. His observation has been confirmed by several
other people incarcerated at MDC, as well as in news reports.3 The unsanitary food
and lockdowns are compounded by other structural issues, including dirty vents,
broken lights, and non-working toilets.

        As this Court is aware, judges in this district and SDNY have granted leniency
at sentencing for defendants incarcerated at MDC given the severe conditions. These
courts have acknowledged that the unusual harshness of incarceration diminishes the
retributive or deterrent need for a guidelines sentence, and they have imposed terms
of imprisonment that are substantially less than the bottom of the defendants’
advisory ranges, including many sentences for time served. See United States v. Narcissi,
20-cr-449 (RPK) (E.D.N.Y. Mar. 15, 2021) (imposing time-served sentence where
guidelines range was 24-30 months); United States v. Shi, 19-cr-451 (PKC) (E.D.N.Y.
Nov. 2, 2020) (imposing no prison where guidelines range was 12-18 months); United
States v. Piper, 18-cr-008 (AMD) (E.D.N.Y. June 25, 2020) (imposing time-served
sentence on resentencing where bottom of guidelines range was 63 months). See also
United States v. Flowers, 14-cr-471 (DLI) (E.D.N.Y. Apr. 20, 2022) (imposing 24
months in violation of supervised release case where guidelines range was 33-41
months); United States v. Camacho, 19-cr-389 (CM) (S.D.N.Y. Nov 19, 2020) (imposing
time-served sentence where bottom of guidelines range was 57 months); United States
v. Paulino, 19-cr-607 (AJN) (S.D.N.Y. Oct. 21, 2020) (imposing time-served sentence
where bottom of guidelines ranges was 27 months); United States v. Aracena de Jesus, 20-
cr-19 (PAE) (S.D.N.Y. July 1, 2020) (imposing time-served sentence where bottom of
guidelines range was 30 months).

    Dewayne will bear the brunt of collateral consequences with a felony conviction.

       Dewayne’s future opportunities for employment, housing, and a host of other
issues will be further impacted by his conviction in the instant matter. A felony
conviction triggers a host of collateral consequences, including significant barriers to
employment, education, and access to credit and financial services:

        Collateral consequences affect many areas of life. Some criminal
        convictions can lead to loss of civil status; a citizen may lose the right to

3
 See John Annese, “Maggot-infested meals being served to inmates at Brooklyn federal jail, lawyers
say,” The New York Daily News, March 30, 2024,
https://www.nydailynews.com/2024/03/30/maggot-infested-meals-being-served-inmates-at-
brooklyn-federal-jail-lawyers-say/ (attached as Exhibit B).
                                                 5
    Case 1:22-cr-00336-MKB Document 27 Filed 04/19/24 Page 6 of 7 PageID #: 87




        vote, serve on a jury, or hold office; a noncitizen may be deported or
        become ineligible to naturalize. A conviction may make a person ineligible
        for public benefits, such as the ability to live in public housing or hold a
        driver’s license. . . . A criminal conviction can also make a person ineligible
        for a license or permit necessary to be employed or to do business, or
        cause forfeiture of a pension. Criminal convictions can also affect family
        relations, such as the ability to have custody or visitation of one’s child.4

       In New York, a felony conviction can subject someone to 374 5 separate
barriers to employment, including absolute bars on becoming a Certified Nursing
Assistant,6 a firefighter,7 a security guard,8 or even working as the director of a funeral
home.9 Future employment opportunities may be greatly impacted by the instant
felony conviction. As noted in the PSR, Dewayne faces several additional collateral
consequences, such as restrictions on public benefits, housing, license suspensions,
and jury service, among a host of other consequences. PSR ¶74.

        The goals of sentencing will be best served with a time served sentence.

        Pursuant to 18 U.S.C. § 3553(a)(6), in determining a sentence that is sufficient,
but not greater than necessary, the Court “shall consider” “the need to avoid
unwarranted sentence disparities among defendants with similar records who have
been found guilty of similar conduct.” This Court has full authority to consider any
evidence it wishes in deciding whether or not the guidelines “properly reflect § 3553
considerations[.]” Rita v. United States, 551 U.S. 338, 351 (2007); see also Gall v. United
States, 552 U.S. 38 (2007); Kimbrough v. United States, 552 U.S. 85 (2007). In particular,
the district court may consider whether the guidelines applicable to a case “properly
reflect § 3553 considerations,” may reach the “merits of such a claim,” may act on
such concerns, and determine, as a general matter, that “the Guidelines reflect an
unsound judgment.” Rita, 551 U.S. at 351-357; see also Kimbrough, 552 U.S. at 85.
4
  Gabriel Jackson Chin, “Collateral Consequences,” Academy for Justice, A Report on Scholarship
and Criminal Justice Reform (Erik Luna et al., 2017), https://ssrn.com/abstract=2948025 (emphasis
added).
5
  See National Inventory of Collateral Consequences of Conviction, Collateral Consequences
Inventory, https://niccc.nationalreentryresourcecenter.org/consequences.
6
  See 10 CRR-NY § 402.7 (“Where the criminal history information of a prospective employee
reveals a felony conviction at any time for a . . . class B or C felony, any class D or E felony defined
in articles . . . 155 [Larceny offenses], . . . of the Penal Law or . . . any comparable offense in any
other jurisdiction, the Department shall propose disapproval of such person’s eligibility for
employment. . . .”) (emphasis added and omitted).
7
  See N.Y.C. Admin. Code § 15-103(b).
8
  See N.Y. Gen. Bus. L. §§ 74(2), 89-h(4).
9
  See N.Y. Pub. Health L. § 3450(1)(b).
                                                   6
  Case 1:22-cr-00336-MKB Document 27 Filed 04/19/24 Page 7 of 7 PageID #: 88




        Here, the § 3553(a) factors support a time served sentence. Dewayne’s history
and characteristics make it clear that his struggle with substance abuse precipitated the
underlying conduct in this case and impacted his poor decision-making while on
pretrial supervision. Additionally, he is a devoted single father, who is raising his son
full-time and hopes to help Zaiden avoid the pitfalls of his own youth. Dewayne has
worked to repair the relationships with his family and has earned back their trust and
support. Dewayne has tremendous potential for the future. Further, supervised
release will be able to provide Dewayne with “needed educational or vocational
training, medical care, or other correctional treatment” including substance abuse
treatment. Dewayne hopes to start a new chapter in his life after the conclusion of
this case: “I want to have a full-time job, I want to go back to school to get my GED,
and I want to spend more time with my kids.”

                                      CONCLUSION

       For the aforementioned reasons, we respectfully request that the court impose
a sentence of time served, as such sentence will be sufficient, but not greater than
necessary, to achieve the goals of sentencing.


                                                       Respectfully submitted,

                                                       /s Karume James
                                                       Karume James
                                                       Attorney for Dewayne Tripp
                                                       Assistant Federal Defender
                                                       Federal Defenders of New York
                                                       (347) 638-3098
                                                       karume_james@fd.org




cc:   AUSA Miranda Gonzalez (by ECF and email)
      Chambers of the Hon. Margo K. Brodie (by email)




                                            7
